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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

                                             )
KELLEN POWELL et al.,                        )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )
                                             )       Case No. __________
THE CITY OF ST. ANN,                         )
                                             )       Expedited Hearing Requested
               Defendant.                    )             (Class Action)
                                             )

                        MOTION TO WAIVE THE SECURITY

       COMES NOW, Plaintiff, by and through his attorney, and respectfully requests

that the Court waive the injunction bond.

       Federal Rule of Civil Procedure 65(c) provides that the court require the moving

party to post security to protect the other party from any financial harm likely to be

caused by a temporary injunction if that party is later found to have been wrongfully

enjoined. Rule 65(c), however, “vest[s] broad discretion in the district court to determine

the appropriate amount of an injunction bond,” DSE v. United States, 169 F.3d 21, 33

(D.C. Cir. 1999), including the discretion to require no bond at all. Steward v. West, 449

F.2d 324, 325 (5th Cir. 1971) (finding that no injunction bond need be posted when “it is

very unlikely that the defendant will suffer any harm”); RoDa Drilling v. Siegal, 552 F.3d

1203, 1215 (10th Cir. 2009) (“[T]rial courts have wide discretion under Rule 65(c) in

determining whether to require security….”); Donohue v. Mangano, 886 F. Supp. 2d 126,

163 (E.D.N.Y. 2012) (“[A] district court has wide discretion to dispense with the bond

requirement of Fed.R.Civ.P. 65(c) where there has been no proof of likelihood of
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harm….”);Council on American-Islamic Rels. v. Gaubatz, 667 F. Supp. 2d 67, 81

(D.D.C. 2009) (same). The Court should use its considerable discretion to find that no

security (or a nominal security of $1) is required in this case for several important

reasons.

       First, the likelihood of St. Ann suffering any harm from an improperly issued

injunction requiring the City to comply with federal law is almost non-existent. See, e.g.,

Gaubatz, 667 F. Supp. 2d at 81 (requiring no bond where the defendant would not be

substantially injured by the issuance of an injunction); 11A Charles A. Wright, Arthur R.

Miller, et al., Federal Practice and Procedure § 2954 (2d ed.) (“[T]he court may dispense

with security altogether if the grant of an injunction carries no risk of monetary loss to the

defendant.”).   Indeed, the limited injunction sought in this Motion would not even

eliminate the City’s ability to release the named Plaintiff or other future arrestees on a

signature bond. The City may issue the same bond to Mr. Powell and other arrestees and

charge them the same amount of money should they fail to appear in court. It was

planning to do so in three days anyway. Thus, no financial harm would result from this

preliminary injunction.

       Second, the named Plaintiff and other Class members are all living in poverty,

and the very reason for bringing this case is their lack of financial resources. See, e.g.,

Mitchell et al. v. City of Montgomery, 14-cv-186-MEF, Doc. 18 at 3, (May 1, 2014)

(issuing preliminary injunction without requiring a bond for indigent plaintiffs because

they were likely to succeed on the merits and because the City was unlikely to suffer

significant financial harm); Swanson v. Univ. of Hawaii Prof. Assembly, 269 F. Supp. 2d

1252, 1261 (D. Haw. 2003) (waiving the security requirement for public employees
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based on ability to pay and also because the injunction sought enforcement of

constitutional rights); Johnson v. Bd. of Police Comm’rs, 351 F. Supp. 2d 929, 952 (E.D.

Mo. 2004) (requiring no bond for homeless plaintiffs); Wayne Chem. v. Columbus

Agency Serv. Corp., 567 F.2d 692, 701 (7th Cir. 1977) (requiring no bond for indigent

person); Bass v. Richardson, 338 F. Supp. 478, 490 (S.D.N.Y.1971) (“It is clear to us that

indigents, suing individually or as class plaintiffs, ordinarily should not be required to

post a bond under Rule 65(c).”); see also 11A Wright & Miller § 2954 (courts can waive

the bond requirement in cases involving poor plaintiffs).

       Finally, the Plaintiffs are overwhelmingly likely to succeed on the merits. The

outcome of any future trial, if necessary, is likely to reaffirm the basic principles that

have been repeatedly reaffirmed by the Supreme Court and federal and state courts across

the country.

                                     Respectfully submitted,


                                     _/s/ Thomas B. Harvey__________________
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                                     _/s/ Alec Karakatsanis_______________
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